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                               UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF ILLINOIS
                                     EASTERN DIVISION

 MARCUS RILEY, as Independent                        )
 Administrator of the estate of CYNTHIA              )
 SUDOR, deceased,                                    )
                                                     )
                                  Plaintiff,         )
                                                         No.     17 C 7973
                                                     )
                          v.                         )
                                                         Judge
                                                     )
 ADVOCATE TRINITY HOSPITAL,                          )
                                                         Formerly Case No. 2017 L 002959
 JACKSON PARK HOSPITAL AND                           )
                                                         Circuit Court of Cook County, Illinois
 MEDICAL CENTER, ERICKA SEARLES,                     )
 M.D., RITA MCGUIRE, M.D., and ANEES                 )
 FATIMA, M.D.,                                       )
                                                     )
                                  Defendants.        )

                    NOTICE OF REMOVAL OF A CIVIL ACTION AND
                 SUBSTITUTION OF THE UNITED STATES AS DEFENDANT

  To:         Dorothy Brown                               Dean J. Caras
              Clerk of the Circuit Court                  Dean J. Caras & Associates, P.C.
              Richard J. Daley Center, Room 1001          320 W. Illinois Street, Suite 2216
              50 West Washington Street                   Chicago, Illinois 60654
              Chicago, Illinois 60602

              Kominiarek Bresler Harvick                  Lowis & Gellen LLP
              33 North Dearborn Street, Suite 1310        200 West Adams Street, Suite 1900
              Chicago, Illinois 60602                     Chicago, Illinois 60606

         The United States, by its attorney, Joel R. Levin, Acting United States Attorney for the

Northern District of Illinois, submits this notice of removal of the above-captioned civil action

from the Circuit Court of Cook County, Illinois, to the United States District Court, Northern

District of Illinois, pursuant to 42 U.S.C. § 233, and in support thereof states the following:

         1.       On March 22, 2017, plaintiff Marcus Riley, as the independent administrator of the

estate of Cynthia Sudor, deceased, commenced the above civil action against Ericka Searles, M.D.,

and others, alleging medical malpractice. A copy of the state court complaint is attached as Exhibit
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A. Ericka Searles, M.D., is an employee of Chicago Family Health Center, Inc., which is a private

entity that receives grant money from the Public Health Service pursuant to 42 U.S.C. § 233. See

Exhibit B. Ericka Searles, M.D., was acting within the scope of her employment at Chicago

Family Health Center, Inc., with respect to the incidents referred to in the complaint. Id.

       2.      This notice of removal is filed in accordance with 42 U.S.C. § 233 upon

certification by the designee of the Attorney General of the United States that Chicago Family

Health Center, Inc., was a private entity receiving grant money from the Public Health Service,

and that defendant Ericka Searles, M.D., was acting within the scope of her employment at

Chicago Family Health Center, Inc. with respect to the incidents referred to in the complaint.

Exhibit B.

       3.      This notice of removal may be filed without bond at any time before trial. 42 U.S.C.

§ 233(c). Trial has not yet been had in this action.

       4.      Pursuant to the certification by the Attorney General’s designee and the filing of

this notice of removal, under 28 U.S.C. § 233(c), this civil action is deemed an action against the

United States, and the United States is substituted as the sole federal party defendant in place of

defendant Ericka Searles, M.D.




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       WHEREFORE, this action now pending in the Circuit Court of Cook County, Illinois, is

properly removed to this court pursuant to 42 U.S.C. § 233, and the United States is substituted as

the defendant in lieu of Ericka Searles, M.D.

                                                Respectfully submitted,

                                                JOEL R. LEVIN
                                                Acting United States Attorney

                                                By: s/ Megan E. Donohue
                                                   MEGAN E. DONOHUE
                                                   Assistant United States Attorney
                                                   219 South Dearborn Street
                                                   Chicago, Illinois 60604
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                                                      EXHIBIT A
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                                       CERTIFICATION

        Pursuant to the provisions of 42 U.S.C. § 233, and by virtue of the authority delegated to

me by the Attorney General under 28 C.F.R. § 15.4 and through the United States Attorney for the

Northern District of Illinois, I hereby certify that I have read the complaint in Marcus Riley, as

Independent Administrator to the Estate of Cynthia Sudor, deceased, v. Advocate Trinity Hospital,

et al., No. 2017 L 2959 (Circuit Court of Cook County, Illinois), and all attachments thereto. On

the basis of the information now available, I find that at the relevant times, Chicago Family Health

Center, Inc., was a private entity receiving grant money from the Public Health Service pursuant

to 42 U.S.C. § 233. Further, I certify that Ericka Searles, M.D., was acting within the scope of

her employment at Chicago Family Health Center with respect to the incidents referred to in the

complaint. Accordingly, for purposes of the above case, Ericka Searles, M.D., is deemed to be

an employee of the United States pursuant to 42 U.S.C. § 233, for federal statutory tort purposes

only.


                                               s/ Thomas P. Walsh
                                              THOMAS P. WALSH
                                              Chief, Civil Division
                                              Office of the United States Attorney
                                                  for the Northern District of Illinois

Date: November 1, 2017


                                                                     EXHIBIT B
